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    7   and High Voltage Tattoo, Inc.
    8
    9                             UNITED STATES DISTRICT COURT
   10                        CENTRAL DISTRICT OF CALIFORNIA
   11                                  WESTERN DIVISION
   12
        JEFFREY B. SEDLIK, an individual;           Case No. 2:21-cv-01102-DSF-MRWx
   13
                     Plaintiff,                     Before the Hon. Dale S. Fischer,
   14                                               U.S. District Judge
              vs.
   15
        KATHERINE VON                               DEFENDANTS’ TRIAL BRIEF
   16   DRACHENBERG (a.k.a. “KAT                    (L.R. 16-10)
        VON D”), an individual; KAT
   17   VON D., INC., a California
        corporation; HIGH VOLTAGE
   18   TATTOO, INC., a California
        corporation; and DOES 1 through 10,         Action filed:     February 7, 2021
   19   inclusive,
                                                    Trial:            November 28, 2023
   20                Defendants.
   21
   22
   23
   24         Pursuant to Local Rule 16-10, Defendants Katherine Von Drachenberg and
   25   High Voltage Tattoo, Inc. submit the following trial brief:
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    1   1.    Plaintiff May Not Seek Actual Damages Because The Court Already
    2         Granted Summary Judgment on This Issue.
    3         In Section XI.A of Plaintiff’s Memorandum of Contentions of Fact and Law,
    4   Plaintiff claims to be entitled to recover actual damages based upon a hypothetical
    5   license theory. Indeed, Plaintiff has submitted a jury instruction on actual damages.
    6   Plaintiff cannot, however, seek actual damages because Defendants already
    7   prevailed on their partial summary judgment motion as to actual damages.
    8         In their motion, Defendants moved for partial summary judgment as to
    9   remedies on the ground that Sedlik could not establish actual damages or profits.
   10   (ECF 69, p. 28.) Defendants argued that Sedlik could not prove actual damages
   11   because Sedlik cannot establish the market value of his photograph and whether it
   12   decreased in value as a result of Kat Von D’s tattoo. (Id. at 29.) In its summary
   13   judgment order, the Court noted: “Sedlik does not address this argument, and
   14   indeed he has put forth no such evidence.” (Id.) As a result, the Court granted the
   15   summary judgment motion as to actual damages. (Id.)
   16         That Plaintiff has now come up with some new theory as to how he can
   17   prove actual damages is immaterial. The time to present evidence of a hypothetical
   18   license theory of actual damages was in opposition to Defendants’ summary
   19   judgment motion. Plaintiff did not do so. Summary judgment has been granted on
   20   the issue of actual damages and no evidence of this new hypothetical license theory
   21   should be admitted and the jury should not be instructed on the issue of actual
   22   damages.
   23
   24   2.    Defendants Should Be Allowed To Call Blake Farmer Out Of Order.
   25         As the Court knows, Blake Farmer is the person on whose arm Defendants
   26   Kat Von D inked the tattoo at issue. Defendants seek to call Blake Farmer as a
   27   witness (1) to testify that he did not pay or provide any services for the tattoo and
   28   (2) to show the jury the tattoo on his arm. See ECF 201(in which the Court “deems

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    1   this to be relevant and potentially helpful testimony”). In the joint witness list,
    2   Defendants estimate Mr. Farmer’s testimony to be no more than ½ hour and
    3   Plaintiff anticipates 15 minutes cross-examination. (Dkt 158.)
    4         Mr. Farmer is a professional lighting director. (Dkt. 194-2, ¶ 2.) Mr.
    5   Farmer, due to work obligations, must travel out of town by the evening of January
    6   24, and will be out of town from January 25 through 29. He is, however, available
    7   to testify on January 24. Counsel for Defendants notified counsel for Plaintiff of
    8   Mr. Farmer’s work conflict and requested that, should the trial begin as scheduled
    9   on January 23rd, Mr. Farmer be allowed to testify out of order on the 24th.
   10   Plaintiff’s counsel responded that “Plaintiff opposes any request to call Mr. Farmer
   11   out of order.”
   12         Paragraph 3.D.5 of the Civil Trial Order provides that the Court “attempts to
   13   cooperate with professional witnesses and will, except in extraordinary
   14   circumstances, accommodate them by permitting them to be called out of
   15   sequence.” The Civil Trial Order goes on to require Counsel to “anticipate any
   16   such possibility and discuss it with opposing counsel.” The Civil Trial Order
   17   concludes: “If there is an objection, counsel must confer with the Court in
   18   advance.”
   19         Counsel for Defendants has raised the issue with opposing counsel as
   20   required by the Civil Trial Order. As there is an objection, Defendants are raising
   21   the issue now in advance. Given that Mr. Farmer’s testimony is relevant and
   22   “potentially helpful,” and that he is a witness whose testimony will be very short,
   23   Defendants request that he be permitted to testify out of order on January 24, should
   24   the trial begin on January 23.
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    1   Dated: January 16, 2024        GRODSKY, OLECKI & PURITSKY LLP
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    3
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                                       Drachenberg, Kat Von D, Inc., and High Voltage
    6                                  Tattoo, Inc.
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